IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division
WILLIAM THORPE et al.,
Plaintiffs,

v. Civil Action No. 3:19cv332

VIRGINIA DEPARTMENT OF
CORRECTIONS et al.,

Defendants.
MEMORADUM OPINION

Plaintiffs William Thorpe, Frederick Hammer, Dmitry Knavkin,
Gerald McNabb, Gary Wall, Vernon Brooks, Brian Cavitt, Derek
Cornelison, Christopher Cottrell, Peter Mukuria, Steven Riddick,
and Kevin Snodgrass (“Named Plaintiffs”) bring this action under
42 U.S.C. § 1983, on behalf of themselves and other similar
situated prisoners who are, have been, or will be incarcerated in
solitary confinement. ECF No. 1 ¢ 23.1 The matter is before the
Court on DEFENDANTS’ STATEMENT OF POSITION IN SUPPORT OF TRANSFER
TO THE WESTERN DISTRICT OF VIRGINIA (ECF No. 32) (*Motion to
Transfer”). For the reasons set forth below, the Western District

of Virginia is the more logical and convenient forum in which to

 

1°42 U.S.C. § 1983 affords no substantive rights. It merely
provides a procedural vehicle for suing in federal court for
violation of federal rights by persons acting under color of state
law. See Amato v. City of Richmond, 875 F. Supp. 1124, 1132 (E.D.
Va. 1994) (citing Albright v. Oliver, 114 S. Ct. 807, 811 (1994)).

 
adjudicate the claims here presented. Accordingly, the case will
be transferred.
I. SUMMARY OF THE PERTINENT ALLEGATIONS

The Complaint alleges that the Plaintiffs and others similar
situated “have been isolated in solitary confinement at Virginia’s
twin maximum security prisons,” Red Onion State Prison ("Red
Onion”) and Wallens Ridge State Prisons (‘Wallens Ridge”) "and
have remained in long-term solitary confinement for between two
and 23 years.” Compl. 9 1.2. It is said that the Plaintiffs and
the class members “are being subjected to prolonged confinement
because of the Step-Down Program created and overseen by
vpoc .. .” ECF No. 31 at 4. As a result of their solitary
confinement, the Plaintiffs allege that they have suffered “severe
physical and mental health damage, including weight loss, auditory
and visual hallucinations, emotional distress, Post-Traumatic
Stress Disorder, severe sensory deprivation, and suicidal
thoughts.” Compl. § 2.

The Plaintiffs bring this action on behalf of two classes of
prisoners:

(i) All persons who are currently, or will in the future

be confined at Red Onion or Wallens Ridge at the “Level

S” or “Level 6” security levels subject to any phase of
the Step-Down Program (the “Injunction Class”).

 

2 The Complaint does not state the basis for the named Plaintiffs’
incarceration.
(ii) All persons who from August 1, 2012 to the present

have been confined at Red Onion or Wallen Ridge at the

“Level S” or “Level 6”security levels subject to any

phase of the Step-Down Program (the “Damages Class”).
Id. {( 207. The Complaint challenges “VDOC’s historic pattern of
[allegedly] abusing administrative segregation under the guise of
([] ‘behavior modification’ programming, which began when VDOC
opened MCC in the 1970s,” specifically the VDOC’s use of solitary
confinement. ECF No. 31 at 4. The Plaintiffs seek “a remedy that
will end VDOC’s improper policies and prohibit their resumption at
Red Onion, Wallens Ridge, and anywhere else within VDOC’s
jurisdiction.” Id. at 6.

On October 21, 2019, the Court ordered the parties to submit
statements of position “addressing why this action should not be
transferred to the United States District Court for the Western

District or Virginia” under the rationale of the decision in

Nicholas Reyes v. Harold Clarke, et. al., Civil Action No. 3:-

 

18cv611." ECF No. 30 at 1. The Plaintiffs filed CLASS PLAINTIFFS’
STATEMENT OF POSITION IN SUPPORT OF VENUE AND OPPOSING
DISCRETIONARY TRANSFER (ECF No. 31). The Defendants filed
DEFENDANTS’ STATEMENT OF POSITION IN SUPPORT OF TRANSFER TO THE
WESTERN DISTRICT OF VIRGINIA (ECF No. 32), which the Court will
treat as a motion to transfer venue. Plaintiffs then filed their
Reply (ECF No. 35). Accordingly, the Motion to Transfer is ripe

for review.
A. Solitary Confinement and the Step-Down Program

In August of 2012, VDOC announced the “Segregation Reduction
Step-Down Program” (the “Step-Down Program”), Compl. § 130, which
was meant to provide a defined pathway for prisoners to transition
out of long-term, indefinite solitary confinement and to improve
prisoners’ likelihood of success in general population. The Step-
Down Program is intended to “motivate increasingly good behaviors
by deterring unwanted behavior’” and by changing a prisoner's
“thinking and attitude [by] permit[ing] staff to force an inmate
to restart the Program if he fails to comply with any of its
requirements.” Id. 4 131 (citations omitted). Under the Step-
Down Program, prisoners “’earn additional privileges’” at each

phase by demonstrating compliance with disciplinary rules,

responsible behavior goals, and programming.” Id. (citation
omitted). The Step-Down Program has been implemented at both Red
Onion and Wallens Ridge and is meant for prisoners “’who have
presented the most serious disciplinary problems’” Id.

Once it is determined that a prisoner should be placed in
long-term solitary confinement, “the prisoner is classified
Security Level S.” Id. | 134.

After a prisoner is classified Security Level
S and arrives at Red Onion or Wallens Ridge,
a committee named the Dual Treatment Team
(“DTT”) is required to conduct a battery of
assessments to determine whether to place the
prisoner in SM or IM based upon their
identified risk level. According to VDOC
polices, the DTT consists of at least the
following personnel from both Red Onion and
Wallens Ridge: the Chief of Housing and
Programs, a Unit Manager, the Institutional
Program Manager, the Intelligence Officer, and
a GMHP.
Id. § 136.

The Step-Down Program provides a prisoner with two “pathways”
out of solitary confinement: Special Management (“SM”) and
Intensive Management (“IM”). Id. § 135. Prisoners are placed in
the SM Pathway if they “display an institutional adjustment
indicating repeated disruptive behavior at lower level facilities;
a history of fighting with staff or offenders; and/ or violent
resistance toward a staff intervention resulting in harm to staff,
but without the intent to invoke serious harm or the intent to
kill.” Id. § 140 (internal citations omitted). Prisoners are
placed in the IM pathway if they: “display a routinely disruptive
and threatening pattern of behavior and attitude; or demonstrate
potential for extreme and/ or deadly violence against other inmates
or staff, as evidenced by their institutional adjustment history
or most often through an extensive criminal history and lifestyle;
or are incarcerated for a high profile and notorious crime that
most often involved serious violence may be at risk from other

offenders that believe they will earn a reputation for assaulting

or killing the high profile offender.” Id. § 141. In each Pathway,
the prisoner must progress through Phases 0, 1, 2, and SL-6. Id.
q 152.

To determine if a prisoner should remain in solitary
confinement, VDOC directs its staff to evaluate whether the
prisoner has remained in his current Phase for the mandatory
minimum period. Id. § 155. SM prisoners must spend at least three
months each in Phases SM-0, -1, and -2, and three months in each
SM-SL-6 part l and 2. Id. IM prisoners must spend at least six
months each in Phases IM-0, -1, and -2, and one year each in IM-
SL-6 part 1 and 2. Id. If the prisoner has not spent the mandatory
minimum time in his current Phase, he remains at that Phase,

regardless of his behavior. Id. Prisoners must also demonstrate

“progress” in three categories (“Step-Down Categories”): (1)
programming; (2) disciplinary infractions; and (3) “responsible
behavioral goals." Id. 4 156. Prison staff, supervised by the

Unit Manager, rate prisoners in each of the three categories ona
weekly basis and provide each inmate with a grade of “poor,
acceptable, or good.” Id. § 157. The Complaint alleges that
“prisoners who cannot complete the workbook series because of
educational background, learning disability, cognitive disability,
mental illness, or language barrier are evaluated on the same
criteria as prisoners without those disabilities or barriers. When
such prisoners inevitably fail to complete programming, VDOC

continues to hold them in solitary confinement.” Id. | 162.
The Building Management Committee (“BMC”) is responsible for
making recommendations respecting whether a prisoner’s progress in
the three Step-Down Categories merits progression to the next
phase. Id. { 169. Prisoners have no ability to grieve or appeal
review decisions affecting their internal status that are made by
the Unit Manager/BMC. Id. § 174. The Institutional Classification
Authority (“ICA”), composed of a correctional officer and a
counselor, conducts a review every 90 days “in order to ensure
that the reclassification of Level S prisoners is consistent with
policy.” Id. § 175 (internal citations omitted). ICA hearings
are held at the prisoner’s cell door and determine whether a change
is required in the prisoner’s “External status,” or to the
security-level classification in the vDOC-wide system that
determines the prisoner's assignment to a maximum-security prison
or lower level facilities. Id. | 176.

The Complaint alleges that the “VDOC policy permits long-term
solitary confinement on the IM Pathway, with attendant
restrictions and lack of privileges, of inmates who belong in a
protective custody unit or require additional security precautions
for their safety and do not belong in a maximum-security setting

at all.” Id. § 145.
B. Alleged Acts and Omissions of the Defendants and the
Defendants’ Places of Residence

1. Virginia Department of Corrections

The Virginia Department of Corrections (“VDOC”) is the
executive agency responsible for operating and maintaining
correctional facilities within Virginia. VDoc “provides
supervision and control over state correctional facilities and
their programs and reentry services, which includes the Step-Down
Program.” Compl. § 37. vDOC has “issued operating procedures
governing the Step Down Program at Red Onion and Wallers Ridge.”
Id. vbDOC has its regular place of business in Richmond, Virginia.
Id. VDOC is a party to a settlement agreement in Brown v. Landon,
the breach of which is the claim in Count I. Id.

2. Harold Clarke

Harold Clarke (“Clarke”) is the Director of the VDOC,
responsible for implementing and overseeing policies and
procedures to determine long- and short-range at Red Onion and
Wallens Ridge. Compl. ¢ 38. Clarke was involved in the creation
of the Step Down Program and allegedly “knows or has reason to
know that the Step Down Program permits long term solitary
confinement without a legitimate penological purpose, .. .” Id.
q 39. Clarke's regular place of business is at the vpoc
headquarters in Richmond, Virginia. Id. | 38. He is sued in his

individual and official capacity. Id.
3. Randall C. Mathena

Randall C. Mathena (“Mathena”) is the VDOC Security
Operations Manager. Compl. ¢ 40. Between October 2011 and January
2015, Mathena was the Warden at Red Onion, where he was responsible
for the “care and custody of prisoners at Red Onion, for
supervising daily operational activities, and for ensuring staff
compliance with VDOC policies and procedures.” Id. He was also
involved in the development and implementation of the Step Down
Program. Id. As the current Security Operations Manager, Mathena
is the chairperson of a committee “responsible for performing
review of prisoner classifications and pathway assignments in the
Step-Down Program at Red Onion and Wallens Ridge.” Id. Mathena
is sued in his individual and official capacity and has a regular
place of business at the VDOC headquarters in Richmond, Virginia.
Id.

4.H. Scott Richeson

H. Scott Richeson (“Richeson”) is the VDOC Deputy Director of
Reentry and Programs. Compl. § 41. Richeson has been responsible
“for reviewing and approving updates to the Step-Down Program” as
well as “supervising the mental health services within vbOoCc.” Id.
Richeson is sued in her individual and official capacity and has

a principal place of business at the VDOC headquarters in Richmond,

Virginia. Id.
5.A. David Robinson

A. David Robinson (“Robinson”) is the VDOC Chief of
Corrections Operations and has been responsible for reviewing and
approving updates to the Step Down Program. Compl. § 42. Robison
is sued in his individual and official capacity and has a regular
place of business at the VDOC headquarters in Richmond, Virginia.
Id.

6. Henry J. Ponton

Henry J. Ponton (“Ponton”) is the VDOC Regional Operations
Chief for the Western District and was the former Regional
Operations Administrator in 2015 and 2016. Compl. | 43. Ponton
is responsible for “approving the reassignment or transfer of any
inmate to Red Onion and Wallens Ridge for placement in Level S,”
the security level used by the vVbDOC for prisoners in long-term
solitary confinement, and is the ultimate authority over decisions
“regarding whether a prisoner should advance through the Step-Down
Program.” Id. Ponton is being sued in his individual and official
capacity and has a regular place of business in Roanoke, Virginia.
Id.

7. Marcus Elam

Marcus Elam (“Elam”) is the VDOC Regional Administrator for
the Western Region and is responsible “for approving any inmate at

Red Onion and Wallens Ridge for placement in Level S, and reviews

determinations by the wardens of Red Onion and Wallens Ridge to

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assign prisoners from the Level S security classification.” Compl.
4 44. In addition, Elam is responsible for reviewing and approving
updates to the Step-Down Program. Id. Elam is sued in his
individual and official capacity and has a regular place of
business in Roanoke, Virginia. Id.

8. Denise Malone

Denise Malone (‘“Malone”) is the Chief of Mental Health
Services for VDOC, “which is responsible for stabilization of the
mentally ill and minimization of psychiatric deterioration in the
correctional setting.” Compl. § 45. Malone’s responsibilities
include supervision of those responsible for the provisions of
mental health services at Red Onion and Wallens Ridge. Id. Malone
is “also responsible for VDOC mental health treatment and
associated policies and procedures and for the appropriate
classification of VDOC prisoners based on mental health needs.”
Id. Additionally, Malone is alleged to be responsible for ensuring
that all VDOC policies and procedures, including the Step-Down
Program, “comply with the mission of VDOC’s Mental Health Services
and its goal of minimizing psychiatric deterioration within vpoc
Correctional Facilities.” Id. Malone is being sued in her
individual and official capacity and has a regular place of

business in Richmond, Virginia. Id.

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9. Steve Herrick

Steve Herrick (“Herrick”) is the Health Services Director
within VDOC and “is responsible for the supervision of all health
care personnel within VDOC, including at Red Onion and Wallens
Ridge.” Compl. { 46. In addition, Herrick is responsible “for
Maintaining adequate personnel and infrastructure at ail
correctional facilities as required to provide adequate and
preventative health care” and is formerly responsible for
overseeing all mental health services within VDOC institution,
including the Step-Down Program’s mental health activities and the
classification of prisoners with mental health issues at Red Onion
and Wallens Ridge. Id. Herrick is sued in his individual and
official capacity and has a principal place of business in
Richmond, Virginia. Id.

10. Tori Raiford

Tori Raiford (“Raiford”) is the Statewide Restrictive Housing
Coordinator for VDOC and was United Manager of D Building at Red
Onion until October 2015. Compl. § 47. As Unit Manager, Raiford
reviewed ICA reports. Id. As the Statewide Housing Coordinator,
Raiford is responsible “for designing, planning, implementing, and
overseeing operations of VDOC’s solitary confinement or
‘restrictive housing’ program.” Td. Raiford is sued in her
individual and official capacity and has a regular place of

business at VDOC headquarters in Richmond, Virginia. Id.

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11. Jeffrey Kiser
Jeffrey Kiser (“Kiser”) is the Warden of Red Onion and was
the Assistant Order of Red Onion from 2011 to 2012. Compl. 48.

As Warden,

[Kiser] has the ultimate responsibility for
the care and custody of prisoners at Red
Onion, for supervising daily operational
activities, and for ensuring staff compliance
with VDOC policies and procures, including the
Step-Down Program, and specifically, the
activities of Red Onion staff and employees
and administering and operating the Step-Down
Program,

Additionally, Kiser has the ultimate responsibility over
decisions regarding a prisoner’s progress through the Step-Down
Program and was involved in developing and updating the Step-Down
Program. Id. Kiser is sued in his individual and official
capacity and has a principal place of business at Red Onion in
Pound, Virginia. Id.

12. Carl Manis

Carl Manis (“Manis”) is the Warden of Wallens Ridge and has
the ultimate responsibility for the care and
custody of prisoners at Wallens Ridge, for
supervising daily operational activities, and
for ensuring staff compliance with VDOC
policies and procedures, including the Step-

Down Program, and specifically, the activities
of Wallens Ridge staff and employees

administering and operating the Step-Down
Program,

Compl. § 49.

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As Warden, Manis also has the ultimate responsibility
over decisions regarding a prisoner's progress through the
Step-Down Program and was involved in developing and updating
the Step-Down Program. Id. Manis is sued in his individual
and official capacity and has a regular place of business at

Wallens Ridge in Big Stone Gap, Virginia. Id.

C. Conditions of Confinement Specific to Each Plaintiff

The Plaintiffs are, or have been, incarcerated in solitary
confinement by VDOC at Red Onion and/or Wallens Ridge between
August 1, 2012 and the present. Compl. { 22.

1. William Thorpe

William Thorpe (“Thorpe”) has spent approximately twenty-four
years in solitary conferment at several VDOC institutions. Compl.
{ 24. Thorpe is currently 58 years old and “faces the rest of his
life in solitary confinement.” Id. He was first placed in
solitary confinement at Mecklenberg, underwent transfers to Red
Onion, Wallen Ridges, and then went back to Red Onion where he is
now on the IM Pathway. Id. Thorpe allegedly suffers from physical
and mental harms “known to be associated with long term solitary
confinement, including constant anxiety, problems with his
eyesight, depression, agitation, anger, mood swings, bouts of

disorientation, an inability to concentrate, weight loss, a rapid

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heartbeat, sweating, shortness of breath, digestive problems,
restlessness, and insomnia.” Id.

2. Frederick Hammer

Frederick Hammer (“Hammer”) has spent approximately eight
years in solitary confinement at Red Onion on the IM Pathway.
Compl. § 25. Red Onion staff allegedly told Hammer that “he will
remain in solitary confinement for the rest of his life due to
press attention concerning his crimes,” notwithstanding that
Hammer has not committed any disciplinary infractions since 2009.
Hammer allegedly suffers from physical and mental harms “known to
be associated with long term solitary confinement, . . .” Id.

3. Dmitry Khavkin

Dmitry Khavkin (“Khavkin”) spent approximately six years in
solitary confinement at Red Onion. Compl. § 26. Khavkin suffers
from physical and mental harms known to be associated with long
term solitary confinement. Id. Red Onion staff originally
assigned Khavkin to the IM Pathway, and then reassigned him to the
SM Pathway in 2018. After he agreed to act as a class
representative, VDOC transferred him to general population. Id.

4. Gerald McNabb

Gerald McNabb (“McNabb”) has spent approximately three years

in solitary confinement at Red Onion on the IM Pathway and is

currently serving a life sentence. Compl. § 27. McNabb suffers

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from physical and mental harms known to be associated with long
term solitary confinement. Id.

5. Gary Wall

Gary Wall (“Wall”) has spent approximately three years in
solitary confinement at Red Onion on the IM Pathway and will be
released from prison when he is 57 years old. Compl. § 28. Wall
suffers from physical and mental harms known to be associate with
long term solitary confinement. Id.

6. Vernon Brooks

Vernon Brooks (“Brooks”) has spent approximately four years
in solitary confinement at Red Onion on the IM Pathway and will be
released from prison when he is 53 years old. Compl. 4 29. Brooks
suffers from physical and mental health harms known to be
associated with long term solitary confinement. Id.

7. Brian Cavitt

Brian Cavitt (“Cavitt”) has spent approximately two years in
solitary confinement at Red Onion on the IM Pathway and is serving
a life sentence. Compl. § 30. Upon his arrival to Red Onion, the
prison staff allegedly told Cavitt that he would “never see general
population in the State of Virginia.” Id. Cavitt suffers from
physical and mental harms known to be associated with long term

solitary confinement. Id.

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8. Derek Cornelison

Derek Cornelison (“Cornelison”) has spent approximately two
and a half years in solitary confinement at Red Onion on the IM
Pathway and will be released from prison when he is 61 years old.
Compl. § 31. Cornelison suffers from physical and mental harms
known to be associated with long term solitary confinement. Id.

9. Christopher Cottrell

Christopher Cottrell (“Cottrell”) has spent approximately
seven years in solitary confinement at Red Onion on the SM Pathway
and will be released from prison when he is 52 years old. Compl.
q 32. Cottrell does not receive transitional re-entry program
services “otherwise available to prisoners at VDOC with release
dates within five years.” Id. Cottrell suffers from physical and
mental harms known to be associated with long term solitary
confinement. Id.

10. Peter Mukuria

Peter Mukuria (“Mukuria”) spent approximately seven years in
solitary confinement at Red Onion on the IM Pathway and will be
released from prison when he is 63 years old. Compl. § 33. Mukuria
was allegedly told by Red Onion staff that “he will never see
general population.” Id. Mukuria suffers from physical and mental

harms known to be associated with long term solitary confinement.

Id.

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11. Steven Riddick

Steven Riddick (“Riddick”) has spent over four years in
solitary confinement at Red Onion on the SM Pathway and will be
released from prison when he is 84 years old. Compl. 9 34. Riddick
suffers from physical and mental harms known to be associated with
long term solitary confinement. Id.

12. Kevin Snodgrass

Kevin Snodgrass (“Snodgrass”) spent approximately four years
in solitary confinement at Red Onion on the SM Pathway and will be
released from prison when he is 72 years old. Compl. J 35.
Snodgrass suffers lingering effects from years spent in solitary
confinement. Id.

D. The Claims Asserted in the Complaint
1. Count I: Breach of Court-Ordered Settlement Agreement

In 1985, VDOC and the individual Defendants became bound to
a Settlement Agreement in [Brown v. Landon, No. 81-0853-R (E.D.
Va. Apr. 5, 1985)] (the “Brown Settlement”). Compl. § 223. Under
the Brown Settlement, VDOC entered into permanent and binding
obligations with respect to the Phase Program and SMU that required
no ongoing court supervision. Id. The Plaintiffs allege that
vbpoc and the individual Defendants have breached and continue to
breach their obligations under the Brown Settlement and, as a
result of the breach, the Plaintiffs and class members “have

suffered actual damages and substantial psychological and physical

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harms which are present and continuing.” Id. § 229. Further the
Plaintiffs assert that “VDOC should be enjoined from continuing to
operate the Step-Down Program pending a determination at trial of
the damages due to Named Plaintiffs and the class members for the
harms caused by VDOC’s breach of the Settlement Agreement.” id.

q 230.

2. Count II: Violation of the Due Process Clause of the
Fourteenth Amendment of the U.S. Constitution

The Plaintiffs allege that they possess a protected liberty
interest in avoiding long-term solitary confinement in Red Onion
and Wallens Ridge pursuant to the Step-Down Program and “are (or
were) entitled to meaningful periodic review of whether there is
(or was) a sustaining and valid reasons for continuing to hold
them in long-term solitary confinement” but that Defendants failed
to provide this meaningful review. Compl. 4§ 232-233. In so
doing, according to the Plaintiffs, the Defendants have violated
Plaintiffs’ rights to procedural due process under the Fourteenth
Amendment. Id. 4 235.

3. Count III: Violation of the Equal Protection Clause of
the Fourteenth Amendment to the U.S. Constitution

The Plaintiffs allege that:

Defendants are aware that many Plaintiffs have
similar criminal histories and disciplinary
infractions, and yet Defendants chose to
continue to apply vague and overbroad criteria
for placement in either the IM or SM Pathway,
leading to divergent classifications for

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Similarly situated prisoners who pose no
threat to the safety and security of VDOC.

As a result of the overlapping criteria
for placement in either the IM or SM Pathway,
Defendants are allowed to arbitrarily assign
or reclassify prisoners to security
classifications and privilege levels based
upon nothing more than their own judgment.
Whether assigned to the IM or SM Pathway, a
prisoner's ability or timeline in which to
progress into the general population unit and
a prisoner’s access to VDOC resources and
services are vastly different.

Compl. f§ 237-238 (emphasis added). The Plaintiffs assert the
Defendants “thereby intentionally discriminated against Plaintiffs
based on non-penological reasons and violated their rights under
the Equal Protection Clause of the Fourteenth Amendment to the
U.S. Constitution” causing the Plaintiffs to suffer damages. Id.
q{ 245-245.

4. Count V: Violation of the Eighth and Fourteenth
Amendments to the U.S. Constitution?

The Complaint alleges that:

vpoc and each of the individual Named
Defendants have violated Plaintiffs’ Eighth
and Fourteenth Amendment rights by subjecting
them to indefinite and long-term solitary
confinement that serves no legitimate
penological purpose and that results in
serious deprivations of basic human needs,
significant mental and physical harms, and
substantial risk of such harms. VDOC and each
of the individual Named Defendants have been
deliberately indifferent to such harms and
risk of harms.

 

3 The Complaint contains no Count IV.

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Compl. ¢ 247.

5. Count VI: Violation of the Americans with Disabilities
Act of 1990

The Complaint alleges that:

Named Plaintiffs Riddick, Khavkin, Cavitt, and
Wall are class members with mental health
disabilities who are qualified individuals
with disabilities as defined in the [Americans
with Disabilities Act (*ADA”’)]. They have an
impairment that substantially limits one or
more major life activities, they have a record
of such impairment, or they are regarded as
having such an impairment. All Named
Plaintiffs and class members with mental
health disabilities incarcerated at Red Onion
and Wallens Ridge meet the essential
eligibility requirements for the receipt of
services or the participation in programs or
activities provided by Defendants, including
access to those programs and activities
available to prisoners housed in vVDOC's
general population.

 

 

 

Compl. § 251 (emphasis added). The Complaint also states that the
vboc violates the ADA in several ways, including “by failing to
ensure that people with mental health disabilities have access to,
are permitted to participate in, and reap the benefits of,
programs, services, and activities.” Id. q 253. As a result,
“Riddick, Khavkin, Cavitt, Wall, and other class members with
mental health disabilities do not have equal access to prison
activities, programs, and services for which they are otherwise
qualified.” Id. § 256. Because of the Defendants allegedly

discriminatory acts and omissions, the Plaintiffs allege that they

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suffered injuries including pain and suffering, emotional
distress, and an exacerbation of their mental illness. Id. f 258.

6. Count VII: Violation of Section 504 of the Rehabilitation
Act of 1973

“Riddick, Khavkin, Cavitt, Wall, and other class members have
disabilities as defined in Section 504 of the Rehabilitation Act,
29 U.S.C. 794.” Compl. § 260. The Class Plaintiffs allege that
vbOoC “violates Section 504 of the Rehabilitation Act by failing to
reasonably accommodate people with mental health disabilities in

its facilities, programs, activities, and services.” Id. § 263.

II. STANDARD FOR TRANSFERRING AN ACTION

28 U.S.C. § 1404(a), which permits the transfer of civil
actions, provides that:

For the convenience of parties and witnesses,
in the interest of justice, a district court
may transfer any civil action to any other
district or division where it might have been
brought or to any district or division to
which all parties have consented.

To determine whether a § 1404(a) transfer of venue is
appropriate, “a district court must make two inquiries: (1) whether
the claims might have been brought in the transferee forum, and
(2) whether the interest of justice and convenience of the parties

and witnesses justify transfer to that forum.” Koh v. Microtek

Int‘’1l, Inc., 250 F. Supp. 2d 627, 630 (E.D. Va. 2003); see also

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Seaman v. IAC/InterActiveCorp, Inc., No. 3: 18-cv-401, 2019 WL
1474392, *3 (E.D. Va. Apr. 3, 2019).
The party seeking transfer of venue bears the burden of

showing that the transfer is warranted. Beam Laser Sys., Inc. v.

 

Cox Comme'ns, Inc., 117 F. Supp. 2d 515, 518 (E.D. Va. 2000)

 

(citation omitted}. However, “[t]he transfer of a case can be

accomplished sua sponte.” Am. Int’l Specialty Lines Ins. Co. v.

 

A.T. Massey Coal Co., 628 F. Supp. 2d 674, 685 (E.D. Va. 2009)

 

(citing Jensen v. Klayman, 115 F. App’x 634, 635-36 (4th Cir.

 

2004)). Once a court determines that transfer is possible, the
court must “consider and balance” four factors to determine whether
transfer is warranted: “(1) the weight accorded to plaintiff's
choice of venue; {2} witness convenience and access; (3)
convenience of the parties; and (4) the interest of justice." Trs.

of the Plumbers & Pipefitters Nat. Pension Fund v. Plumbing Servs.,

 

Inc., 791 F.3d 436, 444 (4th Cir. 2015) (citations omitted).
Ultimately, “[t]he decision whether to transfer an action pursuant
to § 1404(a) ‘is committed to the sound discretion of the district
court.'" BHP Int'l Inv. Inc. v. OnLine Exch., Inc., 105 F. Supp.

2d 493, 498 (E.D. Va. 2000) (quoting Verosol B.V. v. Hunter

 

Douglas, Inc., 806 F. Supp. 582, 591 (E.D. Va. 1992)).

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A. The Action Could Have Been Brought in the Western District of
Virginia

The first step in the transfer analysis, which requires that
both venue and jurisdiction with respect to each defendant be
proper in the transferee district, looks to whether the action
could have originally been brought in the Western District of
Virginia. Koh, 250 F. Supp. 2d at 630; Hengle, 2018 WL 3016289,
at *5. Neither party disputes that the case could have been
brought in the Western District.

B. The Section 1404(a) Factors Weigh in Favor of Transfer

In the second step of the § 1404(a) transfer analysis, a court
Must weigh the following factors: "(1) the weight accorded to
plaintiff's choice of venue; (2) witness convenience and access;
(3) convenience of the parties; and (4) the interest of justice."

Trs. of the Plumbers & Pipefitters Nat. Pension Fund, 791 F. 3d at

 

444 (citations omitted). Weighing these factors together, the
factors support transfer to the Western District of Virginia.

1. Plaintiff’s Choice of Forum

The Plaintiffs’ choice of forum, the Eastern District of
Virginia, weighs slightly in favor of allowing the claim to remain
in the Eastern District. "As a general rule, a plaintiff's ‘choice
of venue is entitled to substantial weight in determining whether

transfer is appropriate.’” Trs. of the Plumbers & Pipefitters

 

Nat. Pension Fund, 791 F. 3d at 444 (quoting Bd. of Trs. v.

 

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Sullivant Ave. Props., LLC, 508 F. Supp. 2d 473, 477 (E.D. Va.

 

2007)). “But, if the plaintiff's choice of forum is neither the
nucleus of operative facts nor the plaintiff's home forum, the
plaintiff's choice is accorded less weight." Seaman v.

IAC/InterActiveCorp, Inc., No. 3:18-CV-401, 2019 WL 1474392, at ¥*4

 

(E.D. Va. Apr. 3, 2019) (citing Intranexus, Inc. v. Siemens Med.

 

Sols. Health Servs. Corp., 227 F. Supp. 2d 581, 583 (E.D. Va.

 

2002)).

The record is not clear whether the Eastern District is home
forum for the Plaintiffs. The allegations in the Complaint
establish only that each of the Plaintiffs are, or have been,
incarcerated at Red Onion or Wallens Ridge, which are both located
in the Western District of Virginia.

The determination of the operative factual nucleus hinges on
the interpretation of the allegations in the Complaint. Plaintiffs
contend that the nucleus of operative facts is located within the
Eastern District because their action “is predominantly a facial,
constitutional challenge to how the VDOC Defendants in Richmond
devised, created, authorized, and administered the solitary-
confinement policies imposed on the Class Plaintiffs.” ECF No. 31
at 8-9. The Defendants, on the other hand, maintain that the
Complaint bears little relation to the Eastern District and instead

focuses on the harm suffered as a result of the Step-Down Program

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as administered by prisons located within the Western District of
Virginia. ECF No. 32 at 4.

Plaintiffs’ allegations, similar to those in Reyes, stem from
the allegedly unconstitutional impact that the Step-Down Program,
as implemented at Red Onion and Wallens Ridge, two prisons located
in the Western District, had on prisoners. However, unlike the
claims in Reyes, the Complaint focuses heavily on allegations that
the Step-Down Program and VDOC policies “are procedurally
inadequate as designed and do not actually evaluate whether any
prisoner’s solitary confinement serves any of the valid purposes
of administrative segregation.” ECF No. 31 at 5; See, e.g. Compl.
{ 16.4. Also, the Complaint challenges how the Defendants devised,
formulated, implemented and continue to oversee the solitary
confinement system imposed upon the Plaintiffs and the classes
they posit. In Reyes, on the other hand, the complaint focused on
the “specific misconduct of Defendants and other individuals in
the Western District of Virginia [as applied to Reyes]. For

example, Reyes’ Eighth Amendment mental health claims rely on the

 

4 *The current Step-Down Program is a system of vague standards,
contradictory goals, and malleable jargon used to conceal what is
nothing more than an indefinite or permanent solitary confinement
regime. Like the failed Mecklenburg solitary confinement program
that vbOC had pledged to abolish permanently, VDOC’s Step-Down
Program offers prisoners no predictable way to progress out of
solitary confinement while also making it virtually impossible to
hold VDOC accountable for how the solitary confinement program is
operated or administered.”

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alleged acts of deliberate indifference to his deteriorating
mental health by [named defendants] .” No. 3:18cv611, 2019 WL
4195344, at *10-11 (E.D. Va. Sept. 4, 2019). Here, the Plaintiffs
concentrate their allegations on the VDOC’s policies relating to
solitary confinement, and not as heavily (as in Reyes) on the
conditions of solitary confinement subject to each plaintiff.5
For instance, Count III of the Complaint in this case alleges

a violation of the Equal Protection Clause of the United States
Constitution based upon an issue with the design of the vpoc
solitary confinement policy, namely the:

lack of meaningful criteria and independent

accountability for Defendants’ decisions has

created a system in which staff freely

classify similarly situated prisoners

differently without valid penological reasons

or purposes. The subjective and discretionary

decision-making process deprives Plaintiffs

of any reliable and concrete steps they can

take to progress out of the program, which

disincentivizes prisoner improvement in

behavior or self-development to earn

privileges or lower restrictions.
Compl. § 239. This allegation is not premised on the individual

actions of the Defendants but, rather, the error in the vVDOC’s

policy as a whole.

 

5 See, e.g. id. { 212 (stating that the Defendants have implemented
the “Step Down Program without meaningful or independent
accountability and have continually and knowingly implemented the
Step-Down Program in a manner that ignores the serious harms or
substantial risk of serious harms posed by solitary confinement
pursuant to the Step-Down Program at Red Onion and Wallens
Ridge.”).

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Thus, notwithstanding the allegations about the impact of the
challenged policy on the individual Plaintiffs, the Complaint
presents an emphasis on the VDOC policy decisions respecting
development, and overall administration of the Step-Down Program
are made. The VDOC Defendants “devised, created, authorized, and
administered the solitary-confinement policies imposed on the
Class Plaintiffs” in Richmond, where the VDOC headquarters are
located. ECF No. 31 at 8-9. On the other hand, the Complaint
also focuses heavily on the conduct of VDOC officials and employees
who implemented the policies at issue. Most of those officials
and employees are in the Western District of Virginia. On balance,
the nucleus of operative facts is the Eastern District of
Virginia. Hence, the Plaintiffs’ chosen forum is entitled to

some, but not dispositive, weight.

 

6The Defendants correctly point out that “courts often give less
weight to the plaintiff's choice of forum in class actions” because
in such a case, “there will be numerous potential plaintiffs, each
possibly able to make a showing that a particular forum is best

 

suited for the adjudication of the class’[s] claim.” ECF No. 32
at 6 (quoting Byerson v. Equifax Info. Servs., LLC, 467 F. Supp.
2d 627, 633 (E.D. Va. 2006)). However where, as here, “the

Plaintiffs’ choice of forum is amenable to inexpensive discovery
and trial” because it is home to both Defendants and key witnesses,
a plaintiff's choice of forum is entitled to weight that is not
Materially diminished merely because the case is a class action.
Byerson v. Equifax Info. Servs., LLC, 467 F. Supp. 2d 627, 633
(E.D. Va. 2006).

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2. Witness Convenience

The second factor of the § 1404(a) analysis focuses on the
convenience to the witnesses testifying at a trial. The
convenience of witnesses is of considerable importance when
considering a transfer, especially the convenience of nonparty
witnesses, whose location should be afforded greater weight in

deciding a motion to transfer venue. See Fitzgibbon v. Radak, No.

 

3:18-cv-247, 2019 WL 470905, at *4 (E.D. Va. Feb. 6, 2019}; Koh,
250 F. Supp. 2d at 636-37. The party asserting witness
inconvenience must offer sufficient details respecting the
witnesses and their potential testimony, "by affidavit or
otherwise," to enable the Court to assess the materiality of
evidence and the degree of inconvenience. Koh, 250 F. Supp. 2d at
636. In other words, generally, "the influence of this factor
cannot be assessed in the absence of reliable information
identifying the witnesses involved and specifically describing

their testimony." Bd. of Trs., Sheet Metal Workers Nat'l Fund v.

 

Baylor Heating & Air Conditioning, Inc., 702 F. Supp. 1253, 1258
(E. D. Va. 1988). To satisfy the burden that a forum is
inconvenient for witnesses, generally the party seeking the
transfer must provide particularized information of a witness'
potential testimony, how that testimony is material and non-

cumulative, or the degree to which it will be inconvenient to

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access that testimony in the present district. See Koh, 250 F.
Supp. 2d at 636.

The Defendants, who aim to transfer the case to the Western
District of Virginia, admit that, at this stage, they do not know
the identity, or the scope, of testimony of all non-party
witnesses; but they state that, “given the nature of Plaintiffs’
claims, involving the constitutionality of the conditions in which
they and the putative class members have been confined at Red Onion
and Wallens Ridge, it is likely that many of the non-party
witnesses will be prison administrators, corrections officials,
and other employees and staff located in the Western District.”
ECF No. 32 at 8.

In support of their request to transfer, the Defendants have

submitted the affidavit of Defendant Ponton, the Western Regional

Operations Chief for the Western District of the vboc. See
generally ECF No. 32-1. Initially, Ponton notes that, “(Red
Onion], which is located in Pound, Virginia, is located

approximately 368 miles from the federal district courthouse in
Richmond, Virginia. It is 59 miles from the federal district
courthouse in Abingdon, Virginia, and 29 miles from the federal
district courthouse in Big Stone Gap, Virginia.” Id. F 4.
Further, Ponton states that:

specific potential witnesses have not yet been

identified, but would include, from both ROSP
and WRSP, the correctional officers,

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lieutenants, and sergeants who would have
interacted with the inmates on a daily basis;
unit managers, who oversee the administration
of the housing units and therefore also
interact with the inmates on a daily or near-
daily basis; numerous medical and mental
health personnel, including nurses and
qualified mental health professionals; case
counselors; and other security personnel and
administrators, including the wardens,
assistant wardens, majors, chief of housing
and programs, institutional investigators,
disciplinary hearings officers, and grievance
coordinators. Each of these categories of
individuals, the identities of whom have
changed over time, would have interacted with
one or more of the individual plaintiffs or
putative class members and would therefore be
able to provide testimony about their
conditions of their confinement, their state
of mind, and whether they exhibited any signs
of significant mental decline during their
incarceration at ROSP or WRSP.

If this matter were to proceed to trial,
the prolonged absence of numerous employees or
non-party witnesses from ROSP would be
incredibly disruptive to the operation of that
maximum-security level facility, which houses
approximately 778 inmates. If a significant
number of ROSP employees were compelled to be
absent from this facility, over a period of
several days, in order to testify at a jury
trial in Richmond, ROSP would need to take
extraordinary steps to ensure the continuing
safety and security of this facility.

Specifically, the absence of that number
of employees would result in the prison being
critically understaffed. ROSP would likely be
compelled to either transfer a portion of its
current inmate population to other vpoc
facilities, and/or bring in correctional
officers and employees from other vbDoc
facilities to help staff the prison.

Moreover, transporting the twelve named
plaintiffs (or any non-party witnesses who are
inmates) to Richmond for purposes of trial
would also present logistical issues, the

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severity of which would vary depending upon
the number of non-party inmate witnesses
called to testify. Considering the distance
between ROSP and the federal courthouse in
Richmond, any testifying inmates would need to
be transported to the Richmond area the day
before their scheduled testimony, and
temporarily placed at a facility that could
safely house level "S" inmates. For the

reasons discussed above, temporarily
transferring level "S" inmates presents
logistical difficulties, which would be

amplified in the potential absence of enough
security officers to escort these inmates to
the Richmond area. The transporting officers
would be in addition to any ROSP staff members
who would be called to testify at trial, and
in addition to the number of officers who
would need to be left behind to safely staff
the prison. Additional logistical concerns
include the possible need to house inmate
witnesses at multiple separate facilities,
depending upon their security levels and any
"enemy" declarations in their inmate records.

For these reasons, if this case were to
proceed to a jury trial, and if that trial
were held in Richmond, the resulting staffing
shortages at ROSP, caused by the absence of
the parties and witnesses, would critically
undermine the safety and security of that
prison. Similar security concerns would exist
at WRSP. Considering the many logistical
difficulties posed by trying a case of this
nature over 350 miles away from ROSP and WRSP,
a Richmond trial would impose a significant
burden on not just the named ROSP defendants,
but would also greatly strain any remaining
ROSP and WRSP staff and would deplete overall
prison resources.

Id. at 2-5 (internal paragraph numbers omitted).
Ponton further explains that the above problems would not

occur if the matter were tried in the Western District of Virginia.

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That perhaps is an overstatement, but the logistical issues would
be considerably less severe because:

Considering the close proximity of ROSP and
WRSP to those courthouses, the prison would be
able to rotate shifts and allow for the
temporary absence of employees who might need
to appear in court to testify. Also, ROSP and
WRSP are accustomed to transporting inmates
back and forth to those courthouses to
testify, and no relocation or reassignment
would be required in order to bring those
witnesses to court for purposes of testifying
to the jury, and afterwards to return them to
their regularly assigned housing.

Id. 4 17.

Notwithstanding the focus on VDOC policy in the Complaint,
the Plaintiffs’ claims arise, in material part, out of their
confinement in Red Onion or Wallens Ridge and out of administration
of VDOC policy at those prisons. It is clear that the Plaintiffs
will need to testify to support these claims. The burden of moving
and housing defendants for the duration of any trial falls on the

Defendants. Cf. Starnes v. McGuire, 512 F.2d 918, 931 (D.C. Cir.

 

1974) (“The burdens and dangers involved in transporting a prisoner
across long distances are, in our opinion, a significant
inconvenience to the Bureau of Prisons and will normally justify
transfer."). Further, in order to explain the circumstances
surrounding each Plaintiff’s confinement, Defendants, as they
point out, will be required to call prison employees from Red Onion

and Wallens Ridge to defend against the Plaintiffs’ claims. Keitt

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v. New York, No. 12 CIV. 2350 (PAE), 2013 WL 3479526, at *3
(S.D.N.¥. July 10, 2013} (finding that witnesses in a prison abuse
suit were likely to be located at or near the correctional
facilities where the abuse occurred). Given that the claims at
hand involve prolonged periods of alleged mistreatment of the
Plaintiffs and widespread maladministration of VDOC policies,
Defendants will be required to call a significant number of current
and former prison employees in order to defend themselves. And,
that remains the case even though there will be testimony from
witnesses located in Richmond about formulation of the policy.

On the other hand, the Plaintiffs rightly assert that “any
non-party witnesses also are likely to reside in Richmond as they
will be testifying to the history and process of policymaking at
vpoc itself” and point out that eight of the twelve Defendants
reside in Richmond. ECF No. 31 at 10. In addition, to the extent
Plaintiffs require the testimony of non-party witnesses outside of
the Eastern District, the Plaintiffs note that video depositions

of those witnesses can be used at trial. Id.; see Doka USA, Ltd.

 

v. Gateway Project Mgmt., LLC, No. WDQ-10-1896, 2011 U.S. Dist.

 

LEXIS 82380, at *35 (D. Md. July 25, 2011) (finding that the party
asserting witness inconvenience failed to show “that alternatives
to live testimony, such as video depositions, would be
inadequate”). Considering that a majority of the Defendants are

located within the Western District of Virginia and that the other

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evidence before the Court strongly establishes that the Western
District of Virginia will be the most convenient forum for the
vast majority of witnesses, this factor weighs heavily in favor of
transfer.

3. Convenience of the Parties

The moving party “must show (1) that the original forum is
inconvenient for them and (2) that [the non-moving party] will not
be substantially inconvenienced by the transfer." Seaman, 2019 WL
1474392, at *6 (citing Fitzgibbon, 2019 WL 470905 at *3; Koh, 250
F. Supp. 2d at 636). The Defendants have demonstrated that they
will be inconvenienced by conducting a trial in the Eastern
District of Virginia. While it is not now completely clear what
the total of trial witnesses will be, it appears that this case
will present a similar number of witnesses as the number of
witnesses in Reyes and will require significant shifting of vDOCc
resources at Red Onion and Wallens Ridge to conduct a trial on
this matter in the Eastern District of Virginia. Reyes, 2019 WL
4195344, at *13. The Plaintiffs have proffered no compelling
evidence to show that they would suffer significant inconvenience
as a result of a transfer. Thus, this factor strongly favors

transfer to the Western District of Virginia.

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4. The Interest of Justice

"The last factor for the Court to consider is 'the interest
of justice,' which encompasses public interest factors aimed at
‘systemic integrity and fairness.'" Seaman, 2019 WL 1474392, at

*7 {quoting Stewart Org., Inc. v. Ricoh Corp., 487 U.S. 22, 30

 

{1988)). Judicial economy and the avoidance of inconsistent
judgments are prominent among the principal elements of systemic

integrity. See Fitzgibbon, 2019 WL 470905, at *4; U.S. Ship Mgmt.,

Inc. v. Maersk Line, Ltd., 357 F. Supp. 2d 924, 937-38 (E.D. Va.

 

2005). Other factors include "the pendency of a related action,
the court's familiarity with the applicable law, docket
conditions, access to premises that might have to be viewed, the
possibility of unfair trial, the ability to join other parties,
and the possibility of harassment." Koh, 250 F. Supp. 2d at 639.

Both the avoidance of inconsistent judgments and judicial
economy favor transferring the action to the Western District of
Virginia.

In the decades that the undersigned has been
sitting in Richmond, this Court has not ever issued
a final judgment as to whether the conditions at
Red Onion and the Step-Down Program pass
constitutional muster. However, the United States
District Court for the Western District of Virginia
regularly addresses those issues. Thus, the
possibility for inconsistent judgments respecting
the constitutionality of the conditions at Red
Onion and the Step-Down Program will be greatly
reduced if this matter is transferred to the
Western District of Virginia.

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Reyes, 2019 WL 4195344, at *14.

Furthermore, public safety and the efficient operation of
Virginia’s prison system are matters of great public interest.
Having a trial in this Court will necessitate the transport of
many inmates over long distances (with necessary stops) and the
housing of those inmates for an unknown period. That process poses
risk of escape, at worst, and difficult management of difficult
(according to the Complaint) prisoners. To do that for just the
Plaintiffs will necessitate the use of numerous VDOC guards. And,
the record is clear that many VDOC witnesses, and perhaps prisoners
other than the Plaintiffs, would have to travel from the Western
District of Virginia to Richmond for trial. The record shows that
this will have an adverse impact on staffing at Red Onion and
Wallens Ridge. The public interest will be best served by not
running the risks associated with transporting a number of
difficult to manage prisoners over long distances and by avoiding
significant constraints on the management of prisons.

Therefore, the interest of justice favors transfer to the
Western District. Considered as a whole, the § 1404(a) factors
strongly favor transferring the matter to the Western District of
Virginia, the Defendants’ request to Transfer (ECF No. 32) will be

granted.

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IIT. CONCLUSION
For the reasons stated above, the Defendants’ Motion to
Transfer (ECF No. 32) will be granted and this action will be
transferred to the Western District of Virginia.’

It is so ORDERED.

/s/ K3/f

Robert E. Payne
Senior United States District Judge

Richmond, Virginia
Date: April Ye, 2020

 

7 It will be up to the judges in that District to determine where,
within the District, the case will be assigned and the trial held.

Also, it is best to leave resolution of the various other motions
(ECF Nos. 18, 21 and 36) to the transferee court.

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